Case 2:19-cv-02064-JMA-AYS Document 39 Filed 04/30/20 Page 1 of 2 PageID #: 286

                                                                                 FILED
                                                                                 CLERK
 UNITED STATES DISTRICT COURT                                          4/30/2020 8:17 am
 EASTERN DISTRICT OF NEW YORK
                                                                          U.S. DISTRICT COURT
  JOHN DOE,                                                          EASTERN DISTRICT OF NEW YORK
                                                                          LONG ISLAND OFFICE
                               Plaintiff,

                      -against-                              STIPULATION OF DISMISSAL
                                                                  WITH PREJUDICE
  HOFSTRA UNIVERSITY; LYNDA O’MALLEY,
  individually and as agent for Hofstra University;             Case No. 2:19-cv-02064
  ROBERT K. MCDONALD, individually and as agent
  for Hofstra University; ALLISON G. VERNACE,
  individually and as agent for Hofstra University; and
  HEATHER A. DEPIERRO, individually and as agent
  for Hofstra University,

                               Defendants.


         IT IS HEREBY STIPULATED AND AGREED, pursuant to the Federal Rules of
 Civil Procedure, that all claims in this action by and between the undersigned parties to
 the above-entitled action, that whereas no party hereto is an infant, incompetent person
 for whom a committee has been appointed or conservatee, and no person not a party
 has an interest in the subject matter of the action, the above-entitled action be, and the
 same hereby is discontinued as between all parties, and all claims herein are dismissed
 with prejudice, without interest, costs, attorneys’ fees, expenses or disbursements to
 any party as against the other.

 Dated: April 29, 2020


  NESENOFF & MILTENBERG, LLP                   BOND, SCHOENECK & KING, PLLC

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Case 2:19-cv-02064-JMA-AYS Document 39 Filed 04/30/20 Page 2 of 2 PageID #: 287

   Case closed .

 SO ORDERED:


   /s/ JMA                            4/30/2020

 Hon . Joan M. Azrack
 United States District Court Judge




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